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NATIONAL
SURVEY
ON
LGBTQ
YOUTH
MENTAL
HEALTH
2021
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INTRODUCTION




The past year has been incredibly difficult     •    48% of LGBTQ youth reported they             This data underscores many of the serious
for so many, but we also know that lesbian,          wanted counseling from a mental              challenges experienced by LGBTQ youth
gay, bisexual, transgender, queer and                health professional but were unable to       over the last year and should serve as an
questioning (LGBTQ) youth have faced                 receive it in the past year.                 urgent call to action. But it also speaks to
unique challenges. The Trevor Project’s                                                           the diversity and resiliency of LGBTQ youth
2021 National Survey on LGBTQ Youth             •    30% of LGBTQ youth experienced food          and provides valuable insights into their
Mental Health sheds light on many of these           insecurity in the past month, including      everyday sources of strength and positivity.
challenges by capturing the experiences of           half of all Native/Indigenous LGBTQ
nearly 35,000 LGBTQ youth ages 13–24                 youth.                                       We hope these findings will be used by
across the United States.                                                                         fellow researchers, policymakers, and
                                                •    75% of LGBTQ youth reported that             other youth-serving organizations to better
Our third annual survey provides brand               they had experienced discrimination          support LGBTQ youth across the country
new data on the impacts of the COVID-19              based on their sexual orientation or         and around the globe.
pandemic, mental health care disparities,            gender identity at least once in their
discrimination, food insecurity, conversion          lifetime.                                    Over the next year, The Trevor Project
therapy, and suicide — in addition to the                                                         will release new data from this national
benefits of LGBTQ-affirming spaces and          •    Half of all LGBTQ youth of color             survey sample in the form of monthly
respecting the pronouns of transgender and           reported discrimination based on their       research briefs and quarterly reports
nonbinary youth.                                     race/ethnicity in the past year, including   related to LGBTQ youth mental health and
                                                     67% of Black LGBTQ youth and 60% of          suicide prevention. Through our research,
We are also proud that this sample is our            Asian/Pacific Islander LGBTQ youth.          education, advocacy, and direct services, we
most diverse yet, with 45% being LGBTQ                                                            strive to amplify the experiences of LGBTQ
youth of color and 38% being transgender        •    13% of LGBTQ youth reported being            youth and to facilitate the implementation
or nonbinary.                                        subjected to conversion therapy, with        of comprehensive, intersectional policy
                                                     83% reporting it occurred when they          solutions.
Among some of the key findings of the                were under age 18.
survey:                                                                                           And as always, we will continue to do all
                                                •    Transgender and nonbinary youth who          we can to remind LGBTQ youth that they
•    42% of LGBTQ youth seriously                    reported having pronouns respected           deserve love and support and the ability to
     considered attempting suicide in the            by all of the people they lived with         live their lives without fear, discrimination,
     past year, including more than half of          attempted suicide at half the rate of        and violence. If you are an LGBTQ young
     transgender and nonbinary youth.                those who did not have their pronouns        person, please know that you are never
                                                     respected by anyone with whom they           alone and The Trevor Project is here to
•    12% of white youth attempted                    lived.                                       support you 24/7.
     suicide compared to 31% of Native/
     Indigenous youth, 21% of Black youth,      •    Transgender and nonbinary youth who
     21% of multiracial youth, 18% of                were able to change their name and/
     Latinx youth, and 12% of Asian/Pacific          or gender marker on legal documents,
     Islander youth.                                 such as driver’s licenses and birth
                                                     certificates, reported lower rates of
•    94% of LGBTQ youth reported that                attempting suicide.
     recent politics negatively impacted
     their mental health.                       •    LGBTQ youth who had access to
                                                     spaces that affirmed their sexual
•    More than 80% of LGBTQ youth                    orientation and gender identity
     stated that COVID-19 made their living          reported lower rates of attempting
     situation more stressful — and only 1 in        suicide.
     3 LGBTQ youth found their home to be
     LGBTQ-affirming.                           •    An overwhelming majority of LGBTQ
                                                                                                  Amit Paley
                                                     youth said that social media has both
                                                                                                  CEO & Executive Director
•    70% of LGBTQ youth stated that their            positive (96%) and negative (88%)
                                                                                                  The Trevor Project
     mental health was “poor” most of the            impacts on their mental health and
     time or always during COVID-19.                 well-being.




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SUICIDE & MENTAL HEALTH

42% of LGBTQ youth seriously considered
attempting suicide in the past year, including more
than half of transgender and nonbinary youth.

12% of white youth attempted suicide compared
to 31% of Native/Indigenous youth, 21% of Black
youth, 21% of multiracial youth, 18% of Latinx youth,
and 12% of Asian/Pacific Islander youth.
LGBTQ youth who:
 Considered suicide           Attempted suicide

By gender identity                                         By race/ethnicity
                                              Cisgender                                             Asian/Pacific Islander
                 32%                                                           38%

 10%                                                        12%

                                 Transgender & nonbinary                                                            Black
                        52%                                                          47%

           20%                                                     21%

                                                                                                                   Latinx
                                                                                 43%

                                                                  18%
By age
                                                 13–17                                                 Native/Indigenous
                       48%                                                             52%

           20%                                                           31%

                                                 18–24                                                             White
                 34%                                                           39%

 9%                                                         12%

                                                                                             More than one race/ethnicity
                                                                                     48%

                                                                   21%




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SUICIDE & MENTAL HEALTH

72% of LGBTQ youth reported symptoms of generalized
anxiety disorder in the past two weeks, including more
than 3 in 4 transgender and nonbinary youth.

62% of LGBTQ youth reported symptoms of major de-
pressive disorder in the past two weeks, including more
than 2 in 3 of transgender and nonbinary youth.

LGBTQ youth who experienced symptoms of:
 Generalized anxiety disorder Major depressive disorder

By gender identity                                           By race/ethnicity
                                                Cisgender                                       Asian/Pacific Islander
                                 65%                                                  65%

                           53%                                                      60%

                                   Transgender & nonbinary                                                       Black
                                         77%                                          65%

                                   70%                                                65%

                                                                                                                 Latinx
                                                                                          70%

                                                                                      64%
By age
                                                   13–17                                           Native/Indigenous
                                       73%                                                      76%

                                 67%                                                        71%

                                                   18–24                                                         White
                                  69%                                                       72%

                     40%                                                            60%

                                                                                      More than one race/ethnicity
                                                                                                75%

                                                                                          68%




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FINDING SUPPORT: MENTAL HEALTHCARE

In the past year, nearly half of LGBTQ youth have
wanted counseling from a mental health professional,
but did not receive it.



                                                        LGBTQ youth who wanted counseling from a
                                                        mental health professional in the past year:
                                                         Wanted mental health care, but didn’t get it
                                                         Received mental health care
Received mental                  Wanted mental
health care                      health care, but
36%                                  didn’t get it      By race/ethnicity
                                            48%                                                   Asian/Pacific Islander
                                                                                  51%

                                                                   28%

                                                                                                                  Black
                                                                                     53%
Did not want
mental health care                                                 27%
16%
                                                                                                                 Latinx
                                                                                     54%

                                                                    29%

                                                                                                     Native/Indigenous
                                                                                  49%

                                                                     31%

                                                                                                                 White
                                                                               45%

                                                                            41%

                                                                                           More than one race/ethnicity
                                                                                  51%

                                                                         35%




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FINDING SUPPORT: CRISIS SERVICES

More than 80% of LGBTQ youth of all races/ethnicities
said it was important that a crisis line include a focus
on LGBTQ youth, should they need it.

LGBTQ youth who say a focus on LGBTQ youth would be important if
they needed to use a crisis line:

                                   88%   Transgender
                                                                            13–17   84%
                                         & nonbinary                                           79%      18–24
             Cisgender       76%




                        By gender identity                                               By age



                                                              Features LGBTQ youth said would be important
                                                              if they needed to contact a crisis line:
By race/ethnicity

    Asian/Pacific Islander                        82%         Available 24/7                                           94%




    Black                                              86%    Available by text                                        94%




    Latinx                                         85%        Focuses on LGBTQ youth                             82%




    Native/Indigenous                              84%        Available using web-chat                          78%




    White                                        81%          Available by phone                            77%




    More than one race/ethnicity                  82%         Available by messaging system       61%

                                                              (e.g. WhatsApp or Facebook Messenger)




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COVID-19

70% of LGBTQ youth stated that their mental
health was “poor” most of the time or always
during COVID-19.




LGBTQ youth who said:
 COVID-19 negatively impacted their mental health
 Their mental health was “poor” most of the time or always during COVID-19


By gender identity                            Cisgender   By race/ethnicity                  Asian/Pacific Islander
                                 75%                                                             78%

                        61%                                                          63%

                              Transgender & nonbinary                                                        Black
                                        85%                                                      77%

                                  78%                                                  68%

                                                                                                             Latinx
                                                                                                  80%

                                                                                           70%
By age                                           13–17                                            Native/Indigenous
                                    80%                                                           80%

                              72%                                                                77%

                                                 18–24                                                       White
                                    81%                                                           80%

                           67%                                                         69%

                                                                                     More than one race/ethnicity
                                                                                                   82%

                                                                                             75%




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COVID-19

Nearly half of LGBTQ youth said that COVID-19
impacted their ability to express
their sexual orientation.

Nearly 60% of transgender and nonbinary
youth said that COVID-19 impacted their ability
to express their gender identity.

LGBTQ youth who said COVID-19 impacted their ability to express their:
 Sexual orientation  Gender identity

By age                                         By race/ethnicity
                                       13–17                                            Asian/Pacific Islander
                      50%                                                51%

                            65%                                                 63%

                                       18–24                                                             Black
                42%                                                      53%

                      52%                                                        64%

                                                                                                         Latinx
                                                                         51%

                                                                                 64%

                                                                                           Native/Indigenous
                                                                   46%

                                                                          55%

                                                                                                         White
                                                                   44%

                                                                           57%

                                                                                 More than one race/ethnicity
                                                                    47%

                                                                               61%




                                                                                                   p.8
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COVID-19

Nearly 40% of LGBTQ youth who had a job
reported that they lost it during COVID-19.

More than 80% of LGBTQ youth stated that
COVID-19 made their living situation more
stressful.


LGBTQ youth who, due to COVID-19:
 Lost a job (if they had one) Experienced a more stressful living situation

By gender identity                                        By race/ethnicity
                                             Cisgender                                       Asian/Pacific Islander
                    37%                                                  34%

                                    78%                                                       78%

                                Transgender & nonbinary                                                      Black
                      42%                                                34%

                                       83%                                                    78%

                                                                                                            Latinx
                                                                              37%

                                                                                                81%
By age
                                                13–17                                           Native/Indigenous
            24%                                                                 42%

                                      81%                                                        82%

                                                18–24                                                       White
                          45%                                                  40%

                                      81%                                                       81%

                                                                                      More than one race/ethnicity
                                                                               40%

                                                                                                 83%




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SUPPORTING TRANSGENDER & NONBINARY YOUTH

Affirming transgender and nonbinary youth
by respecting their pronouns and allowing them
to change legal documents is associated with
lower rates of attempting suicide.

Transgender & nonbinary youth who wanted to change their             Transgender & nonbinary
legal documents, such as driver’s licenses and birth certificates: youth who attempted suicide
                                                                     in the past year, comparison
           Changed                               Not legally able to
                                                                     across ability to change legal
   legal documents                               change legal docu-  documents:
                  7%                             ments                  Not legally able
                                                 57%
                                                                             25%
                                                                                     Planning

                                                                                       19%

                                                                                                Changed

                                                                                                 11%
 Planning to change
    legal documents
               36%




If you live with other people, how many of them respect               Transgender & nonbinary
your pronouns?                                                        youth who attempted suicide
                                                                      in the past year, comparison
     All of the people                           None of the people
                                                                      across the number of people
                  29%                            49%                  they live with who respected
                                                                      their pronouns:
                                                                             None

                                                                              24%      Some

                                                                                       19%
                                                                                                  All

                                                                                                  13%
 Some of the people
               22%




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FOOD INSECURITY

30% of LGBTQ youth experienced food insecurity
in the past month, including half of all Native/
Indigenous LGBTQ youth.

27% of LGBTQ youth said they worried that food
at home would run out in the last month before
they or their family had money to buy more.


LGBTQ youth who had trouble affording enough food in the                                LGBTQ youth who attempted
past month:                                                                             suicide in the past year,
                                                                                        comparison across experiences
                    38%    Transgender                                                  of food insecurity:
                           & nonbinary
                                           13–17    31%    30%      18–24
Cisgender    24%                                                                            Had    25%
                                                                                         trouble


                                                                                                         11%   Didn’t have
                                                                                                               trouble


        By gender identity                            By age                                   Affording enough food
                                                                                                 in the past month

By race/ethnicity
                                                               Asian/Pacific Islander
            18%
                                                                               Black
                          35%
                                                                              Latinx    19% of LGBTQ youth said that in
                          36%                                                           the last month, they were hungry
                                     50%
                                                                  Native/Indigenous     but didn’t eat because they or
                                                                              White
                                                                                        their family didn’t have enough
                   27%                                                                  food.
                                                      More than one race/ethnicity
                          36%




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  CONVERSION THERAPY

  LGBTQ youth who were subjected to conversion
  therapy reported more than twice the rate of
  attempting suicide in the past year compared
  to those who were not.

  LGBTQ youth who reported being subjected to conversion therapy:

                     18%   Transgender
                           & nonbinary          By race/ethnicity

  Cisgender    9%                                Asian/Pacific Islander 7%

                                                 Black                          10%
           By gender identity
                                                 Latinx                                     14%

                                                 Native/Indigenous                                            21%
                     14%   18–24
      13–17    12%
                                                 White                                12%

                                                 More than one race/ethnicity               14%

                By age




                                                Transgender and nonbinary youth reported being
  LGBTQ youth who attempted
  suicide in the past year,                     subjected to conversion therapy at twice the rate of
  comparison across those                       cisgender LGBQ youth.
  subjected to conversion therapy:

Subjected to   27%
                                                LGBTQ youth who reported being subjected to
 conversion
    therapy
                                                conversion therapy were an average of 15 years old
                                                at the time, with 83% of LGBTQ youth reporting that it
                     12%   Not subjected
                                                occurred when they were younger than 18.
                           to conversion
                           therapy




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 DISCRIMINATION

 75% of LGBTQ youth reported that they had
 experienced discrimination based on their sexual
 orientation or gender identity at least once in their
 lifetime.

 More than half of LGBTQ youth reporting that they
 had experienced discrimination based on their sexual
 orientation or gender identity in the past year.
 LGBTQ youth who attempted suicide, comparison across those who have
 been discriminated against in the past year:

                                            Discriminated    24%
                                                                                           Discriminated     23%
Discriminated    21%                               against
                                                                                                  against
       against

                                                                                                                   14%   Not been
                                                                    12%    Not been                                      discriminated
                       9%   Not been                                       discriminated                                 against
                            discriminated                                  against
                            against

    On the basis of sexual orientation          On the basis of gender identity               On the basis of race, ethnicity, or na-
                                             among transgender & nonbinary youth             tionality among LGBTQ youth of color



 LGBTQ youth who attempted suicide in the past year,
                                                                                             Half of LGBTQ youth of color
 comparison across the number of types of discrimination
                                                                                             reported discrimination based
 experienced:
                                                                                             on their race/ethnicity in the
 By number of types                                                                          past year, including 67% of Black
                         35%
                                                                                             LGBTQ youth and 60% of Asian/
                                                               3 types of discrimination
                          36%                                                                Pacific Islander LGBTQ youth.
                                                               2 types of discrimination
                 24%
                                                                1 type of discrimination
        13%
                                                               0 types of discrimination
   7%




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AFFIRMING SPACES

Only 1 in 3 LGBTQ youth found their
home to be LGBTQ-affirming.
Where LGBTQ youth access            LGBTQ youth who attempted suicide in the past year,
LGBTQ-affirming spaces:             comparison across access to LGBTQ-affirming spaces:

      Online                                                                         Affirming online communities
                                                      14%
       69%
                                                                         No access to affirming online communities
               School                                   16%
               50%
                        Home
                                                                                                 Affirming school
                                                  12%
                        34%
                                                                                              School not affirming
                                                            18%


                                                                                                  Affirming home
                                                11%
                                                                                               Home not affirming
                                                        16%
LGBTQ youth who had access
to spaces that affirmed their
sexual orientation and gender       Social media has both positive and negative impacts on LGBTQ youth.
identity reported lower rates of    96% of LGBTQ youth said social media positively impacted their
attempting suicide than those       well-being, and 88% of LGBTQ youth said it negatively impacted their
who did not.                        well-being.

Where transgender and               Transgender & nonbinary youth who attempted suicide in
nonbinary youth access              the past year, comparison across access to gender-affirming
gender-affirming spaces:            spaces:
      Online                                                                         Affirming online communities
                                                            18%
       71%
                                                                         No access to affirming online communities
                                                                   23%
               School

                47%     Home                                                                      Affirming school
                                                            18%
                        33%
                                                                                              School not affirming
                                                                   23%


                                                                                                  Affirming home
                                                      14%
                                                                                               Home not affirming
Most LGBTQ youth had access to                                    22%

online spaces that affirmed their
sexual orientation and gender         Affirming
identity.                             Not affirming


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FINDING JOY

Although LGBTQ youth described a number of
challenges in their lives, they also listed hundreds
of ways they find joy and strength, including:


            Affirming parents • Anime • Chosen family
            Educational opportunities • Faith & spirituality
            Feeling seen          •     Finding community online
            Having a pet • Having a supportive partner
            Learning       more           about        LGBTQ        history
            LGBTQ support at school • Moving away • Music
            Others      who       identify        in     similar        ways
            Reading & writing • Representation in media
            Seeing others take pride in being LGBTQ
            Seeing rainbow flags & stickers in public
            Supportive friends             •   Theater        •   Therapy
            Unapologetic embracing of self • Video games
            Watching LGBTQ people on TikTok & YouTube
                                      Working out




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RESEARCH

The mission of The Trevor Project’s Research
Department is to produce and use
innovative research that brings new knowledge
and clinical implications to the field
of suicidology and LGBTQ youth mental
health.

To address this mission we:
Advance Scientific Inquiry                   Support The Trevor Project’s                   Inform Public Knowledge
Providing empirical data to better           Life-Saving Work                               Ensuring our research and evaluation
understand the lives of LGBTQ youth                                                         findings are applicable and widely
                                             Using internal and external data and
and suicidality including risk factors,                                                     communicated to the broader public
                                             research findings to advance The Trevor
protective factors, and outcomes.                                                           including LGBTQ youth-serving agencies
                                             Project’s crisis services and peer support
                                                                                            and mental health organizations.
                                             programs as well as advocacy and
• The Trevor Project will be a leading       education initiatives.
  source of scientific information on the                                                   • The Trevor Project will serve as a
  needs and strengths of LGBTQ youth                                                          national model on how to integrate the
                                             • The Trevor Project’s advocacy and training
                                                                                              best research evidence into its practices,
• The Trevor Project will collaborate          activities will be supported by data
                                                                                              programs, and policies
  with key national and international          collected directly by The Trevor Project
  research teams and agencies to               as well as evidence gathered from the        • The Trevor Project will be a leading
  improve the lives of LGBTQ youth             broader research literature                    resource on terminology related
                                                                                              to LGBTQ youth
                                             • The Trevor Project will embody an
                                               evidence-informed culture in which
                                               all staff are supported and recognized
                                               in the use of research evidence




Recommended Citation
The Trevor Project. (2021).
2021 National Survey on LGBTQ Youth Mental Health.
West Hollywood, California: The Trevor Project.
For additional information please contact:
Research@TheTrevorProject.org




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METHODOLOGY

The content and methodology for
The Trevor Project’s 2021 National
Survey on LGBTQ Youth Mental Health
were approved by an independent
Institutional Review Board.


A quantitative cross-sectional design was       Participation was voluntary and informed        The final analytic sample consisted of
used to collect data through an online survey   consent was obtained. No names or
platform between October 12, 2020 and           personal details were included to ensure        34,759 LGBTQ youth between the ages
December 31, 2020. A sample of individuals      anonymity. A total of 82,147 youth from         of 13–24 residing in the United States
ages 13–24 who resided in the United            unique IP addresses consented to complete
States was recruited via targeted ads on        the survey. Eligible youth included those       who provided valid and reliable
social media. No recruitment was conducted      between the ages of 13–24 who identified        responses to survey questions.
via The Trevor Project website or any of        as LGBTQ and resided in the U.S.
The Trevor Project’s social media sites.                                                        This report uses “transgender and
Respondents were defined as being LGBTQ         Additionally, in order to develop a sample      nonbinary” as an umbrella term to
if they identified with a sexual orientation    that more closely approximated the race and     encompass non-cisgender youth, which
other than straight/heterosexual, a gender      ethnicity composition of the United States,     includes young people who identify as
identity other than cisgender, or both.         quota limits were set for race/ethnicity        transgender and nonbinary as well as other
In order to ensure representativeness           categories. After providing demographic         labels outside of the cisgender binary,
of the sample, targeted recruitment was         information — including their age, state, sex   including genderqueer, agender, genderfluid,
conducted to ensure adequate sample sizes       assigned at birth, gender identity, sexual      gender neutral, bigender, androgynous, and
with respect to geography, gender identity,     orientation, and race/ethnicity — 2,158         gender non-conforming, among others.
and race/ethnicity. Qualified respondents       youth were screened out based on ages
completed a secure online questionnaire         outside of the sample range and residency
that included a maximum of 142 questions.       outside of the United States. Additionally,
Questions on considering and attempting         27,588 youth were screened out of the
suicide in the past 12 months were taken        survey due to quotas for race/ethnicity
from the Centers for Disease Control and        already being met, resulting in an eligible
Prevention’s Youth Risk Behavior Survey         sample of 54,559 respondents. A validity
to allow for comparisons to their nationally    check was placed midway through the
representative sample. Each question            survey which asked participants to select
related to mental health and suicide was        “agree” from a five-point statement with
preceded by a message stating,                  answers ranging from “strongly disagree” to
                                                “strongly agree.” Youth who did not select
                                                “agree” (n=804) or who did not reach the
“If at any time you need to talk to
                                                validity question in the mid-point of the
someone about your mental health                survey (18,365) were removed from the
or thoughts of suicide, please call The         analytic sample. More detailed screening
                                                of response consistency and quality
Trevor Project at 1-866-488-7386.”              resulted in the removal of an additional 631
                                                respondents.




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METHODOLOGY
                                                                  In order to better understand how our sample compares to a national
Comparability to 2019 Youth Risk Behavior                         probabilistic sample, we included questions regarding considering
                                                                  and attempting suicide that were identical to those used by the
Survey by the Centers for Disease Control and                     Centers for Disease Control and Prevention (CDC) in their Youth Risk
Prevention (CDC):                                                 Behavior Surveillance System (YRBS).

                                                                  Analyses were conducted to compare rates of seriously considering
                                                                  suicide and attempting suicide in the past 12 months among youth
                                                                  ages 13–18 in our sample to the 2019 YRBS sample of lesbian, gay,
       2021 Trevor       47%       47%      Most recent
                                                                  and bisexual (LGB) high school students.
     Project Survey                         CDC YRBS
           (13–18)                          Survey
                                                                  YRBS prevalence rates among LGB youth for seriously considering
                                                                  suicide (47%) were comparable to rates among the same age range in
                                                                  our sample (47%).
                      Considering suicide
                                                                  Additionally, 23% of LGB youth in the 2019 YRBS reported a suicide
                                   23%     Most recent            attempt in the past 12 months compared to 19% in our sample of
       2021 Trevor       19%               CDC YRBS               youth ages 13–18.
     Project Survey                        Survey
           (13–18)                                                Our analytical sample has representation from over 7,500 Latinx
                                                                  LGBTQ youth, over 3,700 Asian/Pacific Islander LGBTQ youth, over
                      Attempting suicide                          3,400 Black LGBTQ youth, and over 1,700 Native/Indigenous LGBTQ
                                                                  youth who reported their race/ethnicity either exclusively or as part
                                                                  of a multiracial identity.


                               Sexual Orientation                                              Region
                                Bisexual                   37%                                   South                       35%
                                Gay or lesbian             28%                                   West                        26%
                                Pansexual                  19%                                   Midwest                     23%
                                Queer                      12%                                   Northeast                   16%
                                I am not sure               4%
                                Straight or heterosexual    1%



                               Asexual/Ace Spectrum                                            Race/Ethnicity
                                Not asexual/ace spectrum 86%                                     White                       55%
                                Asexual/ace spectrum     14%                                     More than one identity      18%
                                                                                                 Latinx                      15%
                                                                                                 Asian/Pacific Islander       6%
                                                                                                 Black                        5%
                                                                                                 Native/Indigenous            2%



                               Gender Identity                                                 Age
                                Girl or woman            41%                                     13–17                       57%
                                Nonbinary, gender fluid, 26%                                     18–24                       43%
                                or gender non-conforming
                                Boy or man               23%
                                Not sure or questioning   9%




                               Transgender & Nonbinary Identity                                Socioeconomic Status
                                Cisgender                  44%                                   Has more than enough to 77%
                                Questioning if transgender 18%                                   meet basic needs
                                or nonbinary                                                     Has just enough or less   23%
                                Transgender or nonbinary 38%                                     than enough to meet basic
                                                                                                 needs




                                                                                                                           p.18
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The Trevor Project is the world’s
largest suicide prevention and
crisis intervention organization
for lesbian, gay, bisexual, transgender,
queer & questioning young people.


Need Help?
We are here for you 24/7
For over 20 years, we have
worked to save young lives by
providing support through our
free and confidential crisis
services programs, including
TrevorLifeline, TrevorChat,
and TrevorText. We also run                                  Crisis services.                      Peer support.
TrevorSpace, the world’s largest                      Direct suicide prevention and       The world’s largest safe space
safe space social networking                          crisis intervention services to     social networking community
site for LGBTQ youth, and                            support LGBTQ youth 24/7 via                for LGBTQ youth
operate innovative advocacy,                               phone, text, and chat
research, and education
programs across the country.


TheTrevorProject.org
  @TrevorProject
  @TheTrevorProject
  @TrevorProject



                                             Research.                            Advocacy.                        Education and public
                                                                                                                       awareness.
                                      Evaluations and external          Advocacy at the federal, state,
                                     research that support The           and local levels to fight for    Programs, trainings, and content
                                   Trevor Project in significantly      policies and laws that protect     promoting awareness around
                                    improving its services while                LGBTQ youth                issues and policies relevant to
                                    maintaining preeminence in                                            LGBTQ youth and the adults who
                                          scientific inquiry                                                       support them




  EXHIBIT C                                                                                                                           20
